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3    Fax. (559) 408-7465
4    Attorney for Defendant, ANGEL RUIZ-ESPINOZA
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7
                                    UNITED STATES DISTRICT COURT
8
                                EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,)               1:07-CR-244-OWW
                              )
12                            )
                Plaintiff,    )               STIPULATION AND ORDER
13                            )               TO CONTINUE SENTENCING
            vs.               )
14                            )
     ANGEL RUIZ-ESPINOZA      )
15                            )
                              )
16              Defendant.    )
                              )
17
18          THE PARTIES HEREBY STIPULATE AND AGREE that the status
19   conference presently set for, April 27, 2009 at 1:30 p.m., be
20   continued to Monday, June 8, 2009, at 1:30 a.m.
21          The sentencing is to be continued for defendants ANGEL RUIZ-
22   ESPINOZA and RAUL NAVARETTE.
23          Pursuant to Federal Rules of Criminal Procedure section 18
24   U.S.C. 3161, the parties agree that any delay resulting from this
25   continuance shall be excluded in the interest of justice.
26
     //
27
     //
28   Dated: April 23, 2009.                        /s/ CADEE PETERS
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1                                               Cadee Peters,
                                                Attorney for Defendant,
2                                               Angel Ruiz-Espinoza
3    Dated:   April 23, 2009.                   /s/ DAVID BALAKIAN
                                                David Balakian,
4                                               Attorney for Defendant,
                                                Raul Navarette
5
                                                Stipulation has been agreed to
6                                               by Mr. Capozzi.
7
     Dated: April 23, 2009.                     /s/ KEVIN ROONEY
8                                               Kevin Rooney,
                                                Assistant U.S. Attorney.
9
                                                Stipulation has been agreed to
10                                              by Mr. Rooney.
11
12                                       ORDER
     IT IS SO ORDERED.
13
     Dated: April 23, 2009                  /s/ Oliver W. Wanger
14   emm0d6                            UNITED STATES DISTRICT JUDGE
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